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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 BOBBY HUNT, et al.                                    Case No. 23-CV-01758

         Plaintiffs,                                   Magistrate Judge
                                                       Kimberly A. Jolson
                 vs.

 THE CITY OF NELSONVILLE, OHIO,
 et al.

         Defendants.

                               SETTLEMENT STATUS REPORT

        Now come the parties to the above captioned matter pursuant to Court Order and report

to the Court that all matters regarding the payment of compensation to the plaintiffs have been

resolved and, with confirmation of clearance of the checks issued this matter, a stipulated dismissal

with prejudice will be filed. It is anticipated that of confirmation of clearance will occur within the

next 10 days and immediately thereafter the filing of the stipulation of dismissal.


/s/Daniel H. Klos                               Isl Thomas N. Spyker (per email authority)
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                                                Counselfor Defendants
    Case: 2:23-cv-01758-KAJ Doc #: 47 Filed: 02/05/25 Page: 2 of 2 PAGEID #: 270




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document was served via

this Court's CM/ECF electronic filing system this 5 day of February 2025 upon all parties and/or

counsel of record.




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